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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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KRAUS USA, Inc.,                                                 :

                           Plaintiff,                            :

                                                                 :          ORDER
                  -against-
                                                                 :    17-CV-6541 (ER)(KNF)
SERGIO MAGARIK a/k/a SERGEI MAGARIK,
VONN, LLC a/k/a VONN LIGHTING, LLC d/b/a :
VONN LIGHTING, LEONID VALDEBERG,
VIGO INDUSTRIES, LLC and                                        :
 NIGEL CHALLENGER,
                                                                :
                             Defendants.
--------------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE

         A settlement conference was held in the above-captioned action on October 21, 2020; no

settlement was achieved. Therefore, the parties shall proceed in accordance with the June 5,

2020 order of the court appearing at Docket Entry No. 174.

Dated: New York, New York                                        SO ORDERED:
       October 21, 2020
